                                Case 6:23-bk-03376-LVV                  Doc 1        Filed 08/18/23          Page 1 of 43


Fill in this information to identify your case:

United States Bankruptcy Court for the:

MIDDLE DISTRICT OF FLORIDA

Case number (if known)                                                     Chapter      11
                                                                                                                        � Check if this an
                                                                                                                            amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                         06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Fluid Construction Inc.

2.   All other names debtor
     used in the last 8 years
     Include any assumed          FKA Evolve Construction and Consulting Services
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                   Mailing address, if different from principal place of
                                                                                                business

                                  1064 West Highway 50
                                  Suite 215
                                  Clermont, FL 34711
                                  Number, Street, City, State & ZIP Code                        P.O. Box, Number, Street, City, State & ZIP Code

                                  Lake                                                          Location of principal assets, if different from principal
                                  County                                                        place of business

                                                                                                Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       www.fluid-construction.com


6.   Type of debtor               � Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                  � Partnership (excluding LLP)
                                  � Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                            page 1
                                                                                                 Doc ID: 0c73b8d45533da5fd6ab6c894e8874efc7c3c08b
                               Case 6:23-bk-03376-LVV                       Doc 1         Filed 08/18/23              Page 2 of 43
Debtor    Fluid Construction Inc.                                                                      Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                       � Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                       � Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                       � Railroad (as defined in 11 U.S.C. § 101(44))
                                       � Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                       � Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                       � Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                       � None of the above
                                       B. Check all that apply
                                       � Tax-exempt entity (as described in 26 U.S.C. §501)
                                       � Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                       � Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                         http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                2389

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
     debtor filing?
                                       � Chapter 7
     A debtor who is a “small          � Chapter 9
     business debtor” must check       � Chapter 11. Check all that apply:
     the first sub-box. A debtor as
     defined in § 1182(1) who                           � The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     elects to proceed under                                     noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     subchapter V of chapter 11                                  $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     (whether or not the debtor is a                             operations, cash-flow statement, and federal income tax return or if any of these documents do not
     “small business debtor”) must                               exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     check the second sub-box.
                                                            �    The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
                                                                 debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                 proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                 balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                 any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                            �    A plan is being filed with this petition.
                                                            �    Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                            �    The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                            �    The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                       � Chapter 12
9.   Were prior bankruptcy             � No.
     cases filed by or against
     the debtor within the last 8      � Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                                  Case number
                                                 District                                 When                                  Case number




Official Form 201                              Voluntary Petition for Non-Individuals Filing for Bankruptcy                                               page 2
                                                                                                         Doc ID: 0c73b8d45533da5fd6ab6c894e8874efc7c3c08b
                                 Case 6:23-bk-03376-LVV                           Doc 1      Filed 08/18/23            Page 3 of 43
Debtor    Fluid Construction Inc.                                                                       Case number (if known)
          Name

10. Are any bankruptcy cases               � No
    pending or being filed by a
    business partner or an                 � Yes.
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                         Debtor                                                                   Relationship
                                                    District                                When                             Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                       �      Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                              preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                       �      A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or             � No
    have possession of any
                                                  Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    real property or personal          � Yes.
    property that needs
    immediate attention?                          Why does the property need immediate attention? (Check all that apply.)
                                                  � It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                     What is the hazard?
                                                  � It needs to be physically secured or protected from the weather.
                                                  � It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                     livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                  � Other
                                                  Where is the property?
                                                                                   Number, Street, City, State & ZIP Code
                                                  Is the property insured?
                                                  � No
                                                  � Yes.       Insurance agency
                                                               Contact name
                                                               Phone



          Statistical and administrative information

13. Debtor's estimation of             .       Check one:
    available funds
                                               � Funds will be available for distribution to unsecured creditors.
                                               � After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of                � 1-49                                          � 1,000-5,000                              � 25,001-50,000
    creditors                                                                          � 5001-10,000                              � 50,001-100,000
                                       � 50-99
                                       � 100-199                                       � 10,001-25,000                            � More than100,000
                                       � 200-999

15. Estimated Assets                   � $0 - $50,000                                  � $1,000,001 - $10 million                 � $500,000,001 - $1 billion
                                       � $50,001 - $100,000                            � $10,000,001 - $50 million                � $1,000,000,001 - $10 billion
                                       � $100,001 - $500,000                           � $50,000,001 - $100 million               � $10,000,000,001 - $50 billion
                                       � $500,001 - $1 million                         � $100,000,001 - $500 million              � More than $50 billion

16. Estimated liabilities              � $0 - $50,000                                  � $1,000,001 - $10 million                 � $500,000,001 - $1 billion

Official Form 201                                 Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                  page 3
                                                                                                          Doc ID: 0c73b8d45533da5fd6ab6c894e8874efc7c3c08b
                          Case 6:23-bk-03376-LVV                Doc 1       Filed 08/18/23           Page 4 of 43
Debtor   Fluid Construction Inc.                                                      Case number (if known)
         Name

                             � $50,001 - $100,000                      � $10,000,001 - $50 million             � $1,000,000,001 - $10 billion
                             � $100,001 - $500,000                     � $50,000,001 - $100 million            � $10,000,000,001 - $50 billion
                             � $500,001 - $1 million                   � $100,000,001 - $500 million           � More than $50 billion




Official Form 201                    Voluntary Petition for Non-Individuals Filing for Bankruptcy                                         page 4
                                                                                        Doc ID: 0c73b8d45533da5fd6ab6c894e8874efc7c3c08b
                              Case 6:23-bk-03376-LVV                      Doc 1        Filed 08/18/23             Page 5 of 43
Debtor    Fluid Construction Inc.                                                                  Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      August 18, 2023
                                                  MM / DD / YYYY


                             X /s/ Charles Tirri                                                          Charles Tirri
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   CEO




18. Signature of attorney    X /s/ Jeffrey S. Ainsworth                                                    Date August 18, 2023
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Jeffrey S. Ainsworth 060769
                                 Printed name

                                 BransonLaw, PLLC
                                 Firm name

                                 1501 E. Concord Street
                                 Orlando, FL 32803
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     407 894 6834                  Email address      jeff@bransonlaw.com

                                 060769 FL
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 5
                                                                                                     Doc ID: 0c73b8d45533da5fd6ab6c894e8874efc7c3c08b
                           Case 6:23-bk-03376-LVV                      Doc 1        Filed 08/18/23           Page 6 of 43




Fill in this information to identify the case:

Debtor name         Fluid Construction Inc.

United States Bankruptcy Court for the:     MIDDLE DISTRICT OF FLORIDA

Case number (if known)
                                                                                                                           � Check if this is an
                                                                                                                                amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                    12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



             Declaration and signature


      I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
      individual serving as a representative of the debtor in this case.

      I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

       �       Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

       �       Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

       �       Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       �       Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

       �       Schedule H: Codebtors (Official Form 206H)

       �       Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
       �       Amended Schedule
       �       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
       �       Other document that requires a declaration

      I declare under penalty of perjury that the foregoing is true and correct.

       Executed on       August 18, 2023                 X /s/ Charles Tirri
                                                           Signature of individual signing on behalf of debtor

                                                            Charles Tirri
                                                            Printed name

                                                            CEO
                                                            Position or relationship to debtor




Official Form 202                                   Declaration Under Penalty of Perjury for Non-Individual Debtors




                                                                                                 Doc ID: 0c73b8d45533da5fd6ab6c894e8874efc7c3c08b
                              Case 6:23-bk-03376-LVV                       Doc 1        Filed 08/18/23                 Page 7 of 43


 Fill in this information to identify the case:
 Debtor name Fluid Construction Inc.
 United States Bankruptcy Court for the: MIDDLE DISTRICT OF FLORIDA                                                                     � Check if this is an

 Case number (if known):                                                                                                                     amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                        partially secured          of collateral or setoff
 Ally Financial                                      Repossession                                                                                                $45,510.00
 PO Box 78234                                        deficiency
 Phoenix, AZ 85062
 Amex                                                cc                                                                                                          $72,519.66
 Correspondence/Ba
 nkruptcy
 POBox 981540
 El Paso, TX 79998
 Areto Holdings LLC                                  loan                                                                                                        $75,000.00
 c/o Devin Elkin
 619 N Mandan Street
 Bismarck, ND 58501
 Clearfund                                           merchant cash             Contingent                                                                      $405,000.00
 999 Wall Street                                     advance                   Unliquidated
 Suite # 2613                                                                  Disputed
 New York, NY 10005
 Department of                                       941's                                                                                                     $600,000.00
 Revenue
 PO Box 8500
 Tallahassee, FL
 32314
 Dobbs Equipment                                     equipment rental          Contingent                                                                        $31,440.78
 4333 North John                                                               Unliquidated
 Young Pkwy
 Orlando, FL 32804
 EquipmentShare                                      equipment rental                                                                                            $77,335.03
 PO Box 650429
 Dallas, TX 75265
 Everest Business                                    Loan                      Unliquidated                                                                      $28,000.00
 Funding                                                                       Disputed
 102 W 38th Street
 6th Floor
 New York, NY 10018
 Ford Credit                                         Repossession                                                                                                $49,000.00
 PO Box 689001                                       deficiency
 Franklin, TN 37068



Official form 204                       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1




                                                                                                       Doc ID: 0c73b8d45533da5fd6ab6c894e8874efc7c3c08b
                              Case 6:23-bk-03376-LVV                       Doc 1        Filed 08/18/23                 Page 8 of 43



 Debtor    Fluid Construction Inc.                                                                   Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                        partially secured          of collateral or setoff
 G & G Funding                                       merchant cash             Contingent                                                                        $15,000.00
 Group LLC                                           advance                   Unliquidated
 70 Madison Avenue                                                             Disputed
 New York, NY 10016
 John Deere                                          Repossession                                                                                                $31,846.48
 Financial                                           deficiency
 PO Box 650215
 Dallas, TX 75265
 Landmark Funding                                    merchant cash             Contingent                                                                        $45,000.00
 Group LLC                                           advance                   Unliquidated
 2237 New York                                                                 Disputed
 Avenue
 Brooklyn, NY 11234
 Lengemann                                           vendor                                                                                                      $86,926.32
 Corporation
 c/o Leviton Law
 Firm
 1 Pierce Place
 Suite 725 West
 Itasca, IL 60143
 Orange Advance,                                     merchant cash             Contingent                                                                        $23,721.11
 LLC                                                 advance                   Unliquidated
 28 Liberty Street                                                             Disputed
 New York, NY 10005
 PowerPlan                                           vendor                                                                                                      $31,275.46
 21310 Network
 Place
 Chicago, IL
 60673-1213
 Ring Power                                          services                                                                                                  $272,388.40
 Corporation
 415 Community
 College Pky SE
 Palm Bay, FL 32909
 Spinning Crane                                      equipment rental                                                                                            $16,415.40
 Works, LLC
 1306 Potenza Drive
 Melbourne, FL
 32904
 Sunbelt Rentals                                     equipment rental          Contingent                                                                        $60,842.21
 PO Box 409211
 Atlanta, GA
 30384-9211
 Suncoast Funding                                    Merchant Cash             Unliquidated                                                                      $14,000.00
 Group LLC                                           Advance                   Disputed
 141 NE 3rd Avenue
 Suite #1100
 Miami, FL 33132
 United Rentals                                      equipment rental                                                                                          $142,624.30
 10330 David Taylor
 Dr
 Charlotte, NC 28262

Official form 204                       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2




                                                                                                       Doc ID: 0c73b8d45533da5fd6ab6c894e8874efc7c3c08b
                                      Case 6:23-bk-03376-LVV                                           Doc 1              Filed 08/18/23                         Page 9 of 43

 Fill in this information to identify the case:

 Debtor name            Fluid Construction Inc.

 United States Bankruptcy Court for the:                       MIDDLE DISTRICT OF FLORIDA

 Case number (if known)
                                                                                                                                                                                   � Check if this is an
                                                                                                                                                                                        amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                    12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                   $                  0.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                      $         142,852.20

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                     $         142,852.20


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                   $         153,477.00


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                      $         600,000.00

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                              +$       1,586,502.79


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                            $          2,339,979.79




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                 page 1
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                                                                                                                                              Doc ID: 0c73b8d45533da5fd6ab6c894e8874efc7c3c08b
                              Case 6:23-bk-03376-LVV                  Doc 1        Filed 08/18/23              Page 10 of 43

Fill in this information to identify the case:

Debtor name          Fluid Construction Inc.

United States Bankruptcy Court for the:      MIDDLE DISTRICT OF FLORIDA

Case number (if known)
                                                                                                                                � Check if this is an
                                                                                                                                       amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                       12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

     � No. Go to Part 2.
     � Yes Fill in the information below.
     All cash or cash equivalents owned or controlled by the debtor                                                                    Current value of
                                                                                                                                       debtor's interest

3.         Checking, savings, money market, or financial brokerage accounts (Identify all)
           Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                            number


           3.1.     Trustco Bank                                      Checking                              1711                                   $1,552.20



4.         Other cash equivalents (Identify all)

5.         Total of Part 1.                                                                                                                     $1,552.20
           Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

Part 2:           Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

     � No. Go to Part 3.
     � Yes Fill in the information below.

Part 3:           Accounts receivable
10. Does the debtor have any accounts receivable?

     � No. Go to Part 4.
     � Yes Fill in the information below.
11.        Accounts receivable


           11b. Over 90 days old:                      850,916.38      -                         850,916.38 =....                                          $0.00
                                        face amount                          doubtful or uncollectible accounts


Official Form 206A/B                                  Schedule A/B Assets - Real and Personal Property                                                     page 1




                                                                                                Doc ID: 0c73b8d45533da5fd6ab6c894e8874efc7c3c08b
                             Case 6:23-bk-03376-LVV                   Doc 1        Filed 08/18/23           Page 11 of 43

Debtor       Fluid Construction Inc.                                                        Case number (If known)
             Name



12.       Total of Part 3.                                                                                                                 $0.00
          Current value on lines 11a + 11b = line 12. Copy the total to line 82.

Part 4:      Investments
13. Does the debtor own any investments?

   � No. Go to Part 5.
   � Yes Fill in the information below.

Part 5:      Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

   � No. Go to Part 6.
   � Yes Fill in the information below.

Part 6:      Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

   � No. Go to Part 7.
   � Yes Fill in the information below.

Part 7:      Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

   � No. Go to Part 8.
   � Yes Fill in the information below.
          General description                                            Net book value of            Valuation method used   Current value of
                                                                         debtor's interest            for current value       debtor's interest
                                                                         (Where available)

39.       Office furniture
          office furniture                                                                $0.00                                            $700.00



40.       Office fixtures

41.       Office equipment, including all computer equipment and
          communication systems equipment and software
          computers                                                                       $0.00                                            $300.00



42.       Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
          books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
          collections; other collections, memorabilia, or collectibles

43.       Total of Part 7.                                                                                                               $1,000.00
          Add lines 39 through 42. Copy the total to line 86.

44.       Is a depreciation schedule available for any of the property listed in Part 7?
          � No
          � Yes
45.       Has any of the property listed in Part 7 been appraised by a professional within the last year?
          � No
          � Yes

Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                                          page 2



                                                                                                    Doc ID: 0c73b8d45533da5fd6ab6c894e8874efc7c3c08b
                              Case 6:23-bk-03376-LVV               Doc 1        Filed 08/18/23        Page 12 of 43

Debtor        Fluid Construction Inc.                                                   Case number (If known)
              Name

Part 8:       Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

   � No. Go to Part 9.
   � Yes Fill in the information below.
           General description                                        Net book value of         Valuation method used   Current value of
           Include year, make, model, and identification numbers      debtor's interest         for current value       debtor's interest
           (i.e., VIN, HIN, or N-number)                              (Where available)

47.        Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

           47.1.   2022 Dodge Ram 1500                                                $0.00                                       $30,000.00


           47.2.   2022 Chevy Silverado 2500                                          $0.00                                       $55,000.00


           47.3.   2020 Chevy Silverado 2500                                          $0.00                                       $55,000.00



48.        Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
           floating homes, personal watercraft, and fishing vessels

49.        Aircraft and accessories


50.        Other machinery, fixtures, and equipment (excluding farm
           machinery and equipment)

51.        Total of Part 8.                                                                                                  $140,000.00
           Add lines 47 through 50. Copy the total to line 87.

52.        Is a depreciation schedule available for any of the property listed in Part 8?
           � No
           � Yes
53.        Has any of the property listed in Part 8 been appraised by a professional within the last year?
           � No
           � Yes
Part 9:       Real property
54. Does the debtor own or lease any real property?

   � No. Go to Part 10.
   � Yes Fill in the information below.

Part 10:      Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

   � No. Go to Part 11.
   � Yes Fill in the information below.
           General description                                        Net book value of         Valuation method used   Current value of
                                                                      debtor's interest         for current value       debtor's interest
                                                                      (Where available)

60.        Patents, copyrights, trademarks, and trade secrets

61.        Internet domain names and websites


Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                                    page 3



                                                                                              Doc ID: 0c73b8d45533da5fd6ab6c894e8874efc7c3c08b
                           Case 6:23-bk-03376-LVV                    Doc 1        Filed 08/18/23              Page 13 of 43

Debtor        Fluid Construction Inc.                                                      Case number (If known)
              Name

           website                                                                       $0.00                                                $0.00



62.        Licenses, franchises, and royalties

63.        Customer lists, mailing lists, or other compilations

64.        Other intangibles, or intellectual property

65.        Goodwill

66.        Total of Part 10.                                                                                                                $0.00
           Add lines 60 through 65. Copy the total to line 89.

67.        Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C.§§ 101(41A) and 107?
           � No
           � Yes
68.        Is there an amortization or other similar schedule available for any of the property listed in Part 10?
           � No
           � Yes
69.        Has any of the property listed in Part 10 been appraised by a professional within the last year?
           � No
           � Yes
Part 11:      All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

   � No. Go to Part 12.
   � Yes Fill in the information below.
                                                                                                                              Current value of
                                                                                                                              debtor's interest


71.        Notes receivable
           Description (include name of obligor)

72.        Tax refunds and unused net operating losses (NOLs)
           Description (for example, federal, state, local)

73.        Interests in insurance policies or annuities

74.        Causes of action against third parties (whether or not a lawsuit
           has been filed)

           Cause of action against Prince Land, Inc.                                                                                          $0.00
           Nature of claim         Breach of contract
           Amount requested                      $850,916.38



75.        Other contingent and unliquidated claims or causes of action of
           every nature, including counterclaims of the debtor and rights to
           set off claims

76.        Trusts, equitable or future interests in property

77.        Other property of any kind not already listed Examples: Season tickets,
           country club membership



Official Form 206A/B                                 Schedule A/B Assets - Real and Personal Property                                         page 4



                                                                                                 Doc ID: 0c73b8d45533da5fd6ab6c894e8874efc7c3c08b
                         Case 6:23-bk-03376-LVV                  Doc 1      Filed 08/18/23          Page 14 of 43

Debtor      Fluid Construction Inc.                                                 Case number (If known)
            Name



         misc. small hand tools                                                                                             $300.00




78.      Total of Part 11.                                                                                                 $300.00
         Add lines 71 through 77. Copy the total to line 90.

79.      Has any of the property listed in Part 11 been appraised by a professional within the last year?
         � No
         � Yes




Official Form 206A/B                               Schedule A/B Assets - Real and Personal Property                           page 5



                                                                                         Doc ID: 0c73b8d45533da5fd6ab6c894e8874efc7c3c08b
                                 Case 6:23-bk-03376-LVV                                 Doc 1            Filed 08/18/23               Page 15 of 43

Debtor          Fluid Construction Inc.                                                                             Case number (If known)
                Name



Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                              Current value of                    Current value of real
                                                                                                    personal property                   property

80. Cash, cash equivalents, and financial assets.
    Copy line 5, Part 1                                                                                              $1,552.20

81. Deposits and prepayments. Copy line 9, Part 2.                                                                          $0.00

82. Accounts receivable. Copy line 12, Part 3.                                                                              $0.00

83. Investments. Copy line 17, Part 4.                                                                                      $0.00

84. Inventory. Copy line 23, Part 5.                                                                                        $0.00

85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

86. Office furniture, fixtures, and equipment; and collectibles.
    Copy line 43, Part 7.                                                                                            $1,000.00

87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                    $140,000.00

88. Real property. Copy line 56, Part 9.........................................................................................>                                $0.00

89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

90. All other assets. Copy line 78, Part 11.                                                    +                       $300.00

91. Total. Add lines 80 through 90 for each column                                                            $142,852.20           + 91b.                      $0.00


92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $142,852.20




Official Form 206A/B                                              Schedule A/B Assets - Real and Personal Property                                                       page 6



                                                                                                                           Doc ID: 0c73b8d45533da5fd6ab6c894e8874efc7c3c08b
                                 Case 6:23-bk-03376-LVV                        Doc 1          Filed 08/18/23        Page 16 of 43

Fill in this information to identify the case:

Debtor name          Fluid Construction Inc.

United States Bankruptcy Court for the:            MIDDLE DISTRICT OF FLORIDA

Case number (if known)
                                                                                                                                      � Check if this is an
                                                                                                                                            amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                    12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
      � No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
      � Yes. Fill in all of the information below.
Part 1:      List Creditors Who Have Secured Claims
                                                                                                                  Column A                    Column B
2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
claim, list the creditor separately for each claim.                                                               Amount of claim             Value of collateral
                                                                                                                                              that supports this
                                                                                                                  Do not deduct the value     claim
                                                                                                                  of collateral.
2.1    Chrysler Capital                             Describe debtor's property that is subject to a lien                   $48,977.00               $30,000.00
       Creditor's Name                              2022 Dodge Ram 1500
       PO Box 660335
       Dallas, TX 75266-0335
       Creditor's mailing address                   Describe the lien
                                                    Purchase Money Security
                                                    Is the creditor an insider or related party?
                                                    � No
       Creditor's email address, if known           � Yes
                                                    Is anyone else liable on this claim?
       Date debt was incurred                       � No
                                                    � Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                As of the petition filing date, the claim is:
       interest in the same property?               Check all that apply
       � No                                         � Contingent
       � Yes. Specify each creditor,                � Unliquidated
       including this creditor and its relative     � Disputed
       priority.



2.2    GM Financial                                 Describe debtor's property that is subject to a lien                   $60,500.00               $55,000.00
       Creditor's Name                              2022 Chevy Silverado 2500
       P.O. Box 181145
       Arlington, TX 76096
       Creditor's mailing address                   Describe the lien

                                                    Is the creditor an insider or related party?
                                                    � No
       Creditor's email address, if known           � Yes
                                                    Is anyone else liable on this claim?
       Date debt was incurred                       � No
                                                    � Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                As of the petition filing date, the claim is:
       interest in the same property?               Check all that apply



Official Form 206D                                Schedule D: Creditors Who Have Claims Secured by Property                                                page 1 of 2




                                                                                                           Doc ID: 0c73b8d45533da5fd6ab6c894e8874efc7c3c08b
                                 Case 6:23-bk-03376-LVV                       Doc 1          Filed 08/18/23         Page 17 of 43

Debtor       Fluid Construction Inc.                                                               Case number (if known)
             Name

       � No                                        � Contingent
       � Yes. Specify each creditor,               � Unliquidated
       including this creditor and its relative    � Disputed
       priority.



2.3    Mid-Florida                                 Describe debtor's property that is subject to a lien                      $44,000.00            $55,000.00
       Creditor's Name                             2020 Chevy Silverado 2500
       PO Box 8008
       Lakeland, FL 33802
       Creditor's mailing address                  Describe the lien

                                                   Is the creditor an insider or related party?
                                                   � No
       Creditor's email address, if known          � Yes
                                                   Is anyone else liable on this claim?
       Date debt was incurred                      � No
                                                   � Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an               As of the petition filing date, the claim is:
       interest in the same property?              Check all that apply
       � No                                        � Contingent
       � Yes. Specify each creditor,               � Unliquidated
       including this creditor and its relative    � Disputed
       priority.



3.    Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.            $153,477.00

Part 2:     List Others to Be Notified for a Debt Already Listed in Part 1
List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
assignees of claims listed above, and attorneys for secured creditors.

If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
        Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                              you enter the related creditor?   account number for
                                                                                                                                                this entity




Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                       page 2 of 2




                                                                                                          Doc ID: 0c73b8d45533da5fd6ab6c894e8874efc7c3c08b
                               Case 6:23-bk-03376-LVV                         Doc 1           Filed 08/18/23                Page 18 of 43

Fill in this information to identify the case:

Debtor name        Fluid Construction Inc.

United States Bankruptcy Court for the:         MIDDLE DISTRICT OF FLORIDA

Case number (if known)
                                                                                                                                                   � Check if this is an
                                                                                                                                                       amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                       12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

Part 1:      List All Creditors with PRIORITY Unsecured Claims

      1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

         � No. Go to Part 2.
         � Yes. Go to line 2.
      2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
         with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                        Total claim           Priority amount

2.1       Priority creditor's name and mailing address         As of the petition filing date, the claim is:                                $600,000.00          $600,000.00
          Department of Revenue                                Check all that apply.
          PO Box 8500                                          � Contingent
          Tallahassee, FL 32314                                � Unliquidated
                                                               � Disputed
          Date or dates debt was incurred                      Basis for the claim:
                                                               941's
          Last 4 digits of account number                      Is the claim subject to offset?
          Specify Code subsection of PRIORITY                  � No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                               � Yes


Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
      3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
         out and attach the Additional Page of Part 2.
                                                                                                                                                     Amount of claim

3.1       Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $45,510.00
          Ally Financial                                                     � Contingent
          PO Box 78234                                                       � Unliquidated
          Phoenix, AZ 85062                                                  � Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim: Repossession deficiency
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     � No � Yes
3.2       Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $72,519.66
          Amex                                                               � Contingent
          Correspondence/Bankruptcy                                          � Unliquidated
          POBox 981540                                                       � Disputed
          El Paso, TX 79998
                                                                             Basis for the claim: cc
          Date(s) debt was incurred
          Last 4 digits of account number 1006                               Is the claim subject to offset?     � No � Yes




Official Form 206E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                             page 1 of 6
                                                                                                               37780



                                                                                                                 Doc ID: 0c73b8d45533da5fd6ab6c894e8874efc7c3c08b
                          Case 6:23-bk-03376-LVV                    Doc 1          Filed 08/18/23                 Page 19 of 43

Debtor      Fluid Construction Inc.                                                         Case number (if known)
            Name

3.3      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $11,162.33
         Amex                                                      � Contingent
         PO Box 297871                                             � Unliquidated
         Fort Lauderdale, FL 33329                                 � Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: cc
         Last 4 digits of account number 1006
                                                                   Is the claim subject to offset?   � No � Yes
3.4      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $3,100.86
         Amex                                                      � Contingent
         PO Box 297871                                             � Unliquidated
         Fort Lauderdale, FL 33329                                 � Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: cc
         Last 4 digits of account number 1005
                                                                   Is the claim subject to offset?   � No � Yes
3.5      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $75,000.00
         Areto Holdings LLC                                        � Contingent
         c/o Devin Elkin                                           � Unliquidated
         619 N Mandan Street                                       � Disputed
         Bismarck, ND 58501
                                                                   Basis for the claim: loan
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?   � No � Yes
3.6      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $0.00
         Avion Funding LLC                                         � Contingent
         101 Chase Ave, Ste 208                                    � Unliquidated
         Lakewood, NJ 08701
                                                                   � Disputed
         Date(s) debt was incurred 2022
                                                                   Basis for the claim: merchant cash advance
         Last 4 digits of account number 4994
                                                                   Is the claim subject to offset?   � No � Yes
3.7      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $405,000.00
         Clearfund                                                 � Contingent
         999 Wall Street
         Suite # 2613
                                                                   � Unliquidated
         New York, NY 10005                                        � Disputed
         Date(s) debt was incurred 6/23/2022                       Basis for the claim: merchant cash advance
         Last 4 digits of account number                           Is the claim subject to offset?   � No � Yes
3.8      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $13,446.00
         Deberadinis Trucking Co dba                               � Contingent
         Deberadinis Heavy Haul                                    � Unliquidated
         Date(s) debt was incurred                                 � Disputed
         Last 4 digits of account number                           Basis for the claim:

                                                                   Is the claim subject to offset?   � No � Yes
3.9      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $31,440.78
         Dobbs Equipment                                           � Contingent
         4333 North John Young Pkwy
         Orlando, FL 32804
                                                                   � Unliquidated
                                                                   � Disputed
         Date(s) debt was incurred 2022
                                                                   Basis for the claim: equipment rental
         Last 4 digits of account number 2784
                                                                   Is the claim subject to offset?   � No � Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 2 of 6




                                                                                                     Doc ID: 0c73b8d45533da5fd6ab6c894e8874efc7c3c08b
                          Case 6:23-bk-03376-LVV                    Doc 1          Filed 08/18/23                 Page 20 of 43

Debtor      Fluid Construction Inc.                                                         Case number (if known)
            Name

3.10     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $77,335.03
         EquipmentShare                                            � Contingent
         PO Box 650429                                             � Unliquidated
         Dallas, TX 75265                                          � Disputed
         Date(s) debt was incurred 2022
                                                                   Basis for the claim: equipment rental
         Last 4 digits of account number 4702
                                                                   Is the claim subject to offset?   � No � Yes
3.11     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $10,875.00
         Essential Equipment Hauling                               � Contingent
         1160 Wyoming Drive                                        � Unliquidated
         Palm Bay, FL 32909                                        � Disputed
         Date(s) debt was incurred 2022
                                                                   Basis for the claim: hauling
         Last 4 digits of account number 0044
                                                                   Is the claim subject to offset?   � No � Yes
3.12     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $28,000.00
         Everest Business Funding                                  � Contingent
         102 W 38th Street                                         � Unliquidated
         6th Floor
         New York, NY 10018                                        � Disputed
         Date(s) debt was incurred                                 Basis for the claim: Loan

         Last 4 digits of account number                           Is the claim subject to offset?   � No � Yes
3.13     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $49,000.00
         Ford Credit                                               � Contingent
         PO Box 689001                                             � Unliquidated
         Franklin, TN 37068                                        � Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Repossession deficiency
         Last 4 digits of account number
                                                                   Is the claim subject to offset?   � No � Yes
3.14     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $15,000.00
         G & G Funding Group LLC                                   � Contingent
         70 Madison Avenue
         New York, NY 10016
                                                                   � Unliquidated
         Date(s) debt was incurred 12/2022
                                                                   � Disputed
         Last 4 digits of account number                           Basis for the claim: merchant cash advance

                                                                   Is the claim subject to offset?   � No � Yes
3.15     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $12,749.00
         Generator Fueling FL, Inc.                                � Contingent
         Attn.: Starla Nance                                       � Unliquidated
         PO Box 1862                                               � Disputed
         Seffner, FL 33584
                                                                   Basis for the claim: diesel
         Date(s) debt was incurred Sept. - Oct. 2022
         Last 4 digits of account number                           Is the claim subject to offset?   � No � Yes
3.16     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $31,846.48
         John Deere Financial                                      � Contingent
         PO Box 650215                                             � Unliquidated
         Dallas, TX 75265                                          � Disputed
         Date(s) debt was incurred 2022
                                                                   Basis for the claim: Repossession deficiency
         Last 4 digits of account number 3818
                                                                   Is the claim subject to offset?   � No � Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                      Page 3 of 6




                                                                                                     Doc ID: 0c73b8d45533da5fd6ab6c894e8874efc7c3c08b
                          Case 6:23-bk-03376-LVV                    Doc 1          Filed 08/18/23                 Page 21 of 43

Debtor      Fluid Construction Inc.                                                         Case number (if known)
            Name

3.17     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $45,000.00
         Landmark Funding Group LLC                                � Contingent
         2237 New York Avenue
         Brooklyn, NY 11234
                                                                   � Unliquidated
         Date(s) debt was incurred 7/7/2022
                                                                   � Disputed
         Last 4 digits of account number                           Basis for the claim: merchant cash advance

                                                                   Is the claim subject to offset?   � No � Yes
3.18     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $86,926.32
         Lengemann Corporation
         c/o Leviton Law Firm                                      � Contingent
         1 Pierce Place                                            � Unliquidated
         Suite 725 West                                            � Disputed
         Itasca, IL 60143
                                                                   Basis for the claim: vendor
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?   � No � Yes
3.19     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $23,721.11
         Orange Advance, LLC                                       � Contingent
         28 Liberty Street
         New York, NY 10005
                                                                   � Unliquidated
         Date(s) debt was incurred 12/2022
                                                                   � Disputed
         Last 4 digits of account number                           Basis for the claim: merchant cash advance

                                                                   Is the claim subject to offset?   � No � Yes
3.20     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $31,275.46
         PowerPlan                                                 � Contingent
         21310 Network Place                                       � Unliquidated
         Chicago, IL 60673-1213                                    � Disputed
         Date(s) debt was incurred 2022
                                                                   Basis for the claim: vendor
         Last 4 digits of account number 3818
                                                                   Is the claim subject to offset?   � No � Yes
3.21     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $272,388.40
         Ring Power Corporation                                    � Contingent
         415 Community College Pky SE                              � Unliquidated
         Palm Bay, FL 32909                                        � Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: services
         Last 4 digits of account number 6158
                                                                   Is the claim subject to offset?   � No � Yes
3.22     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $16,415.40
         Spinning Crane Works, LLC                                 � Contingent
         1306 Potenza Drive                                        � Unliquidated
         Melbourne, FL 32904                                       � Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: equipment rental
         Last 4 digits of account number
                                                                   Is the claim subject to offset?   � No � Yes
3.23     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $60,842.21
         Sunbelt Rentals                                           � Contingent
         PO Box 409211                                             � Unliquidated
         Atlanta, GA 30384-9211
                                                                   � Disputed
         Date(s) debt was
         incurred 2022 through March 2023                          Basis for the claim: equipment rental

         Last 4 digits of account number 0331                      Is the claim subject to offset?   � No � Yes



Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 4 of 6




                                                                                                     Doc ID: 0c73b8d45533da5fd6ab6c894e8874efc7c3c08b
                             Case 6:23-bk-03376-LVV                         Doc 1          Filed 08/18/23                 Page 22 of 43

Debtor       Fluid Construction Inc.                                                                Case number (if known)
             Name

3.24      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.              $14,000.00
          Suncoast Funding Group LLC                                       � Contingent
          141 NE 3rd Avenue                                                � Unliquidated
          Suite #1100
          Miami, FL 33132                                                  � Disputed
          Date(s) debt was incurred 11/2022                                Basis for the claim: Merchant Cash Advance

          Last 4 digits of account number                                  Is the claim subject to offset?   � No � Yes
3.25      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.             $142,624.30
          United Rentals                                                   � Contingent
          10330 David Taylor Dr                                            � Unliquidated
          Charlotte, NC 28262                                              � Disputed
          Date(s) debt was incurred 2022
                                                                           Basis for the claim: equipment rental
          Last 4 digits of account number 3286
                                                                           Is the claim subject to offset?   � No � Yes
3.26      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.              $11,324.45
          White Cap LP                                                     � Contingent
          dba White Cap Construction                                       � Unliquidated
          6250 Brook Hollow Parkway                                        � Disputed
          Norcross, GA 30071
                                                                           Basis for the claim: Ram Tools
          Date(s) debt was incurred
          Last 4 digits of account number 7267                             Is the claim subject to offset?   � No � Yes

Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

  If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

          Name and mailing address                                                                  On which line in Part1 or Part 2 is the        Last 4 digits of
                                                                                                    related creditor (if any) listed?              account number, if
                                                                                                                                                   any
4.1       Barr Credit Services
          3444 N Country Club Road                                                                  Line     3.26                                   7267
          Suite 200
          Tucson, AZ 85716                                                                          �      Not listed. Explain


4.2       Blake Stewart
          Stewart Law CS LLC                                                                        Line     3.22
          1033 Florida Avenue
          Rockledge, FL 32955                                                                       �      Not listed. Explain


4.3       CRF Solutions
          2051 Royal Avenue                                                                         Line     3.25
          Simi Valley, CA 93065
                                                                                                    �      Not listed. Explain

4.4       David Fogel Esq
          1225 Franklin Ave #201                                                                    Line     3.19
          Garden City, NY 11530
                                                                                                    �      Not listed. Explain

4.5       FirstSource
          205 Bryant Woods South                                                                    Line     3.4                                    7273
          Amhersst, NY 14228
                                                                                                    �      Not listed. Explain

4.6       G and G Funding Group LLC
          57 W 57th Street                                                                          Line     3.14
          Floor 4
          New York, NY 10019                                                                        �      Not listed. Explain



Official Form 206 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                      Page 5 of 6




                                                                                                             Doc ID: 0c73b8d45533da5fd6ab6c894e8874efc7c3c08b
                             Case 6:23-bk-03376-LVV                 Doc 1       Filed 08/18/23                  Page 23 of 43

Debtor      Fluid Construction Inc.                                                     Case number (if known)
            Name

          Name and mailing address                                                     On which line in Part1 or Part 2 is the        Last 4 digits of
                                                                                       related creditor (if any) listed?              account number, if
                                                                                                                                      any
4.7       Jackie Estevez
          Barr Credit Services Inc.                                                    Line      3.26
          3444 N. Country Club Rd #200
          Tucson, AZ 85716                                                             �      Not listed. Explain


4.8       John Deere Construction
          & Forestry Company                                                           Line      3.16
          6400 NW 86th Street
          Johnston, IA 50131                                                           �      Not listed. Explain


4.9       LippesMathias
          10151 Deerwood Park                                                          Line      3.21                                 6158
          Bldg 300, Ste 300
          Jacksonville, FL 32256                                                       �      Not listed. Explain


4.10      Nationwide Credit Inc.
          2101 W Peoria Avenue                                                         Line      3.2                                  2369
          Suite 150
          Phoenix, AZ 85029-4934                                                       �      Not listed. Explain


4.11      Orange Advance LLC
          140 32nd Street                                                              Line      3.19
          # 316
          Brooklyn, NY 11232                                                           �      Not listed. Explain


4.12      Robert B. Worman
          2600 Lake Lucien Drive #405                                                  Line      3.8
          Maitland, FL 32751
                                                                                       �      Not listed. Explain

4.13      Stefanie Beskovoyne
          Besko Law                                                                    Line      3.11
          1001 SE Princeville St
          Port Saint Lucie, FL 34983                                                   �      Not listed. Explain


4.14      Sunbelt Rentals, Inc.
          c/o Shumaker                                                                 Line      3.23                                 7891
          1000 Jackson Street
          Toledo, OH 43604-5573                                                        �      Not listed. Explain


4.15      Weltman, Weinberg, Reis Co.
          PO Box 93596                                                                 Line      3.16                                 2029
          Cleveland, OH 44101
                                                                                       �      Not listed. Explain

4.16      Yehuda Klien, Esquire
          The Klein Law Firm LLC                                                       Line      3.6
          PO Box 714
          Lakewood, NJ 08701                                                           �      Not listed. Explain



Part 4:     Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                            Total of claim amounts
5a. Total claims from Part 1                                                               5a.          $                    600,000.00
5b. Total claims from Part 2                                                               5b.    +     $                  1,586,502.79

5c. Total of Parts 1 and 2
    Lines 5a + 5b = 5c.                                                                    5c.          $                    2,186,502.79




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                            Page 6 of 6




                                                                                                 Doc ID: 0c73b8d45533da5fd6ab6c894e8874efc7c3c08b
                          Case 6:23-bk-03376-LVV                     Doc 1        Filed 08/18/23            Page 24 of 43

Fill in this information to identify the case:

Debtor name      Fluid Construction Inc.

United States Bankruptcy Court for the:    MIDDLE DISTRICT OF FLORIDA

Case number (if known)
                                                                                                                             � Check if this is an
                                                                                                                                 amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                              12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.   Does the debtor have any executory contracts or unexpired leases?
     � No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
      � Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal           Property
(Official Form 206A/B).

2. List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                             whom the debtor has an executory contract or unexpired
                                                                             lease

2.1.       State what the contract or            Commercial Office
           lease is for and the nature of        Suite
           the debtor's interest                 Lease Ends: July 31,
                                                 2024                             Progressive Real
               State the term remaining                                           Estate Holdings, LLC
                                                                                  1064 W Hwy 50
           List the contract number of any                                        Suite 101
                 government contract                                              Clermont, FL 34711




Official Form 206G                        Schedule G: Executory Contracts and Unexpired Leases                                                Page 1 of 1




                                                                                                Doc ID: 0c73b8d45533da5fd6ab6c894e8874efc7c3c08b
                         Case 6:23-bk-03376-LVV                    Doc 1       Filed 08/18/23            Page 25 of 43

Fill in this information to identify the case:

Debtor name      Fluid Construction Inc.

United States Bankruptcy Court for the:   MIDDLE DISTRICT OF FLORIDA

Case number (if known)
                                                                                                                         � Check if this is an
                                                                                                                              amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                     12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

    1. Do you have any codebtors?

� No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
� Yes
  2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
     creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
     on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
           Column 1: Codebtor                                                                        Column 2: Creditor



          Name                        Mailing Address                                          Name                            Check all schedules
                                                                                                                               that apply:

   2.1    Anthony Tirri               5660 County Road 561                                     EquipmentShare                  �D
                                      Clermont, FL 34714                                                                       � E/F        3.10
                                                                                                                               �G



   2.2    Anthony Tirri               5660 County Road 561                                     United Rentals                  �D
                                      Clermont, FL 34714                                                                       � E/F        3.25
                                                                                                                               �G



   2.3    Anthony Tirri               5660 County Road 561                                     Ring Power                      �D
                                      Clermont, FL 34714                                       Corporation                     � E/F        3.21
                                                                                                                               �G



   2.4    Charles Tirri               5660 County Rd 561                                       Sunbelt Rentals                 �D
                                      Clermont, FL 34711                                                                       � E/F        3.23
                                                                                                                               �G



   2.5    Charles Tirri               5660 County Rd 561                                       Orange Advance,                 �D
                                      Clermont, FL 34711                                       LLC                             � E/F        3.19
                                                                                                                               �G



Official Form 206H                                                    Schedule H: Your Codebtors                                            Page 1 of 4



                                                                                             Doc ID: 0c73b8d45533da5fd6ab6c894e8874efc7c3c08b
                       Case 6:23-bk-03376-LVV                Doc 1       Filed 08/18/23          Page 26 of 43

Debtor    Fluid Construction Inc.                                                 Case number (if known)


         Additional Page to List More Codebtors
         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
          Column 1: Codebtor                                                         Column 2: Creditor



  2.6     Charles Tirri            5660 County Rd 561                                  Avion Funding LLC            �D
                                   Clermont, FL 34711                                                               � E/F   3.6
                                                                                                                    �G



  2.7     Charles Tirri            5660 County Rd 561                                  Department of                �D
                                   Clermont, FL 34711                                  Revenue                      � E/F   2.1
                                                                                                                    �G



  2.8     Charles Tirri            5660 County Rd 561                                  Deberadinis Trucking         �D
                                   Clermont, FL 34711                                  Co dba                       � E/F   3.8
                                                                                                                    �G



  2.9     Charles Tirri            5660 County Rd 561                                  Clearfund                    �D
                                   Clermont, FL 34711                                                               � E/F   3.7
                                                                                                                    �G



  2.10    Charles Tirri            5660 County Rd 561                                  Landmark Funding             �D
                                   Clermont, FL 34711                                  Group LLC                    � E/F   3.17
                                                                                                                    �G



  2.11    Cole                     1617 Horseshoe Creek Rd                             Avion Funding LLC            �D
          Scarborough              Davenport, FL 33837                                                              � E/F   3.6
                                                                                                                    �G



  2.12    Cole                     1617 Horseshoe Creek Rd                             Orange Advance,              �D
          Scarborough              Davenport, FL 33837                                 LLC                          � E/F   3.19
                                                                                                                    �G



  2.13    Cole                     1617 Horseshoe Creek Rd                             Department of                �D
          Scarborough              Davenport, FL 33837                                 Revenue                      � E/F   2.1
                                                                                                                    �G



Official Form 206H                                              Schedule H: Your Codebtors                                  Page 2 of 4



                                                                                     Doc ID: 0c73b8d45533da5fd6ab6c894e8874efc7c3c08b
                       Case 6:23-bk-03376-LVV                Doc 1       Filed 08/18/23          Page 27 of 43

Debtor    Fluid Construction Inc.                                                 Case number (if known)


         Additional Page to List More Codebtors
         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
          Column 1: Codebtor                                                         Column 2: Creditor



  2.14    Cole                     1617 Horseshoe Creek Rd                             Dobbs Equipment              �D
          Scarborough              Davenport, FL 33837                                                              � E/F   3.9
                                                                                                                    �G



  2.15    Cole                     1617 Horseshoe Creek Rd                             Deberadinis Trucking         �D
          Scarborough              Davenport, FL 33837                                 Co dba                       � E/F   3.8
                                                                                                                    �G



  2.16    Cole                     1617 Horseshoe Creek Rd                             Clearfund                    �D
          Scarborough              Davenport, FL 33837                                                              � E/F   3.7
                                                                                                                    �G



  2.17    Cole                     1617 Horseshoe Creek Rd                             Landmark Funding             �D
          Scarborough              Davenport, FL 33837                                 Group LLC                    � E/F   3.17
                                                                                                                    �G



  2.18    David Bartek             11460 Park Avenue                                   Sunbelt Rentals              �D
                                   Windermere, FL 34786                                                             � E/F   3.23
                                                                                                                    �G



  2.19    David Bartek             11460 Park Avenue                                   Department of                �D
                                   Windermere, FL 34786                                Revenue                      � E/F   2.1
                                                                                                                    �G



  2.20    David Bartek             11460 Park Avenue                                   Amex                         �D
                                   Windermere, FL 34786                                                             � E/F   3.2
                                                                                                                    �G



  2.21    David Bartek             11460 Park Avenue                                   Amex                         �D
                                   Windermere, FL 34786                                                             � E/F   3.3
                                                                                                                    �G



Official Form 206H                                              Schedule H: Your Codebtors                                  Page 3 of 4



                                                                                     Doc ID: 0c73b8d45533da5fd6ab6c894e8874efc7c3c08b
                       Case 6:23-bk-03376-LVV                Doc 1       Filed 08/18/23          Page 28 of 43

Debtor    Fluid Construction Inc.                                                 Case number (if known)


         Additional Page to List More Codebtors
         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
          Column 1: Codebtor                                                         Column 2: Creditor




Official Form 206H                                              Schedule H: Your Codebtors                                Page 4 of 4



                                                                                     Doc ID: 0c73b8d45533da5fd6ab6c894e8874efc7c3c08b
                           Case 6:23-bk-03376-LVV                    Doc 1         Filed 08/18/23             Page 29 of 43




Fill in this information to identify the case:

Debtor name         Fluid Construction Inc.

United States Bankruptcy Court for the:    MIDDLE DISTRICT OF FLORIDA

Case number (if known)
                                                                                                                              � Check if this is an
                                                                                                                                  amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                              04/22
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

Part 1:     Income

1. Gross revenue from business

     � None.
      Identify the beginning and ending dates of the debtor’s fiscal year,            Sources of revenue                          Gross revenue
      which may be a calendar year                                                    Check all that apply                        (before deductions and
                                                                                                                                  exclusions)

      From the beginning of the fiscal year to filing date:                           � Operating a business                                $138,556.10
      From 1/01/2023 to Filing Date
                                                                                      � Other


      For prior year:                                                                 � Operating a business                              $2,584,553.47
      From 1/01/2022 to 12/31/2022
                                                                                      � Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

     � None.
                                                                                      Description of sources of revenue           Gross revenue from
                                                                                                                                  each source
                                                                                                                                  (before deductions and
                                                                                                                                  exclusions)

Part 2:     List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $7,575. (This amount may be adjusted on 4/01/25
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

     � None.
      Creditor's Name and Address                                 Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                      Check all that apply




Official Form 207                          Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                   page 1




                                                                                                  Doc ID: 0c73b8d45533da5fd6ab6c894e8874efc7c3c08b
                           Case 6:23-bk-03376-LVV                      Doc 1        Filed 08/18/23             Page 30 of 43
Debtor       Fluid Construction Inc.                                                            Case number (if known)



4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $7,575. (This amount
   may be adjusted on 4/01/25 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

     � None.
      Insider's name and address                                   Dates                 Total amount of value           Reasons for payment or transfer
      Relationship to debtor
      4.1.    Samantha Tirri                                       July 2022 to                     $38,500.00           services provided
              11517 Clair Place                                    July 2023
              Clermont, FL 34711
              Family Member

      4.2.    Joseph Tirri                                         July 2022 to                     $20,000.00           services provided
              5660 County Road 561                                 October 2022
              34714
              Family Member

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

     � None
      Creditor's name and address                      Describe of the Property                                        Date                 Value of property

      John Deere Financial                             John Deere 85G EXC W/AUX HYD                                    July 2023                        $0.00
      PO Box 650215                                    S/N: 023612
      Dallas, TX 75265
                                                       Hitachi ZAXI ZX350LC EXC Base Pkg
                                                       S/N: 941029

      Ford Credit                                      2022 Ford F150                                                  July 2023                        $0.00
      PO Box 689001
      Franklin, TN 37068                               2022 Ford F150


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

     � None
      Creditor's name and address                      Description of the action creditor took                         Date action was                Amount
                                                                                                                       taken

Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

     � None.
              Case title                               Nature of case              Court or agency's name and                 Status of case
              Case number                                                          address
      7.1.    Orange Advance, LLC,                     Contract                    Supreme Court of the State                 � Pending
              vs.                                      Indebtedness                of New York                                � On appeal
              Fluid Construction, Inc., et al                                      County of Kings
                                                                                                                              � Concluded
              502902/2023


Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                     page 2




                                                                                                   Doc ID: 0c73b8d45533da5fd6ab6c894e8874efc7c3c08b
                          Case 6:23-bk-03376-LVV                      Doc 1         Filed 08/18/23             Page 31 of 43
Debtor       Fluid Construction Inc.                                                             Case number (if known)



              Case title                              Nature of case               Court or agency's name and             Status of case
              Case number                                                          address
      7.2.    Spinning Crane Works, LLC               Contract                     Brevard County Civil Court             � Pending
              vs.                                     Indebtedness                 51 Nieman Avenue                       � On appeal
              Fluid Construction, Inc.                                             #100
                                                                                                                          � Concluded
              05-2023-CC                                                           Melbourne, FL 32901

      7.3.    Deberadinis Trucking                    Contract                     Orange County Circuit Co.              � Pending
              Company                                 Indebtedness                 425 N. Orange Avenue                   � On appeal
              vs.                                                                  # 550
                                                                                                                          � Concluded
              Fluid Construction, Inc.                                             Orlando, FL 32802
              2023-CC-003696

      7.4.    Dobbs Equipment, LLC                    Contract                     Lake County Circuit Court              � Pending
              vs.                                     Indebtedness                 550 W. Main Street                     � On appeal
              Fluid Construction, Inc.                                             Tavares, FL 32778
                                                                                                                          � Concluded
              2022-CA-002188

      7.5.    Ring Power Corporation                  Contract                     Duval County Circuit Court             � Pending
              vs.                                     Indebtedness                 501 W. Adams Street                    � On appeal
              Fluid Construction, Inc.                                             Jacksonville, FL 32202
                                                                                                                          � Concluded
              2023-CA-001191

      7.6.    Avion Funding LLC vs. Fluid             Civil                        Contract Indebtedness                  � Pending
              Construction Inc. and Cole                                           Supreme Court of the State             � On appeal
              James Scarborough                                                    of New York
                                                                                                                          � Concluded
              534994/2022                                                          County of Kings


8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

     � None

Part 4:      Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

     � None
              Recipient's name and address            Description of the gifts or contributions                  Dates given                         Value


Part 5:      Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

     � None
      Description of the property lost and            Amount of payments received for the loss                   Dates of loss          Value of property
      how the loss occurred                                                                                                                          lost
                                                      If you have received payments to cover the loss, for
                                                      example, from insurance, government compensation, or
                                                      tort liability, list the total received.

                                                      List unpaid claims on Official Form 106A/B (Schedule
                                                      A/B: Assets – Real and Personal Property).

Part 6:      Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

Official Form 207                          Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                   page 3




                                                                                                   Doc ID: 0c73b8d45533da5fd6ab6c894e8874efc7c3c08b
                           Case 6:23-bk-03376-LVV                      Doc 1         Filed 08/18/23             Page 32 of 43
Debtor        Fluid Construction Inc.                                                            Case number (if known)



     � None.
                Who was paid or who received              If not money, describe any property transferred               Dates               Total amount or
                the transfer?                                                                                                                        value
                Address
      11.1.     BransonLaw, PLLC                                                                                        3/30/23,
                1501 E. Concord Street                                                                                  3/31/23,
                Orlando, FL 32803                         Attorney Fees                                                 8/11/23                  $20,500.00

                Email or website address
                jeff@bransonlaw.com

                Who made the payment, if not debtor?
                Samantha Tirri $3000.00



12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

     � None.
      Name of trust or device                             Describe any property transferred                    Dates transfers              Total amount or
                                                                                                               were made                             value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

     � None.
               Who received transfer?                  Description of property transferred or                     Date transfer             Total amount or
               Address                                 payments received or debts paid in exchange                was made                           value

 Part 7:      Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


     � Does not apply
                Address                                                                                             Dates of occupancy
                                                                                                                    From-To

Part 8:       Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

     �     No. Go to Part 9.
     �     Yes. Fill in the information below.


                Facility name and address              Nature of the business operation, including type of services                If debtor provides meals
                                                       the debtor provides                                                         and housing, number of
                                                                                                                                   patients in debtor’s care

Part 9:       Personally Identifiable Information




Official Form 207                            Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                   page 4




                                                                                                    Doc ID: 0c73b8d45533da5fd6ab6c894e8874efc7c3c08b
                           Case 6:23-bk-03376-LVV                       Doc 1        Filed 08/18/23             Page 33 of 43
Debtor        Fluid Construction Inc.                                                            Case number (if known)



16. Does the debtor collect and retain personally identifiable information of customers?

     �     No.
     �     Yes. State the nature of the information collected and retained.

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

     �     No. Go to Part 10.
     �     Yes. Does the debtor serve as plan administrator?


Part 10:      Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

     � None
                Financial Institution name and          Last 4 digits of           Type of account or          Date account was                  Last balance
                Address                                 account number             instrument                  closed, sold,                 before closing or
                                                                                                               moved, or                              transfer
                                                                                                               transferred
      18.1.     Wells Fargo Bank                        XXXX-0584                  � Checking                  5/31/2023                                  $0.00
                                                                                   � Savings
                                                                                   � Money Market
                                                                                   � Brokerage
                                                                                   � Other

      18.2.     BlueVine Inc.                           XXXX-6661                  � Checking                  05/2023                                    $0.00
                401 Warren Street                                                  � Savings
                Suite 300
                                                                                   � Money Market
                Redwood City, CA 94063
                                                                                   � Brokerage
                                                                                   � Other

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


     � None
      Depository institution name and address                Names of anyone with                  Description of the contents                 Does debtor
                                                             access to it                                                                      still have it?
                                                             Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


     � None
      Facility name and address                              Names of anyone with                  Description of the contents                 Does debtor
                                                             access to it                                                                      still have it?


Part 11:      Property the Debtor Holds or Controls That the Debtor Does Not Own




Official Form 207                            Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                      page 5




                                                                                                    Doc ID: 0c73b8d45533da5fd6ab6c894e8874efc7c3c08b
                          Case 6:23-bk-03376-LVV                      Doc 1         Filed 08/18/23             Page 34 of 43
Debtor      Fluid Construction Inc.                                                             Case number (if known)




21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

    � None

Part 12:    Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

     Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
     owned, operated, or utilized.

     Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
     similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

     �     No.
     �     Yes. Provide details below.

      Case title                                            Court or agency name and              Nature of the case                            Status of case
      Case number                                           address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

     �     No.
     �     Yes. Provide details below.

      Site name and address                                 Governmental unit name and                Environmental law, if known               Date of notice
                                                            address

24. Has the debtor notified any governmental unit of any release of hazardous material?

     �     No.
     �     Yes. Provide details below.

      Site name and address                                 Governmental unit name and                Environmental law, if known               Date of notice
                                                            address

Part 13:    Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

     � None
   Business name address                             Describe the nature of the business               Employer Identification number
                                                                                                       Do not include Social Security number or ITIN.

                                                                                                       Dates business existed

26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
         � None
      Name and address                                                                                                                 Date of service
                                                                                                                                       From-To



Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                       page 6




                                                                                                   Doc ID: 0c73b8d45533da5fd6ab6c894e8874efc7c3c08b
                           Case 6:23-bk-03376-LVV                      Doc 1        Filed 08/18/23             Page 35 of 43
Debtor      Fluid Construction Inc.                                                             Case number (if known)



      Name and address                                                                                                              Date of service
                                                                                                                                    From-To
      26a.1.        Sines Blakeslee Madyda                                                                                          May 2022 -
                    800 South Dillard Street                                                                                        September 2022
                    Winter Garden, FL 34787

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

          � None

    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

          � None
      Name and address                                                                               If any books of account and records are
                                                                                                     unavailable, explain why

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

          � None
      Name and address

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

     �     No
     �     Yes. Give the details about the two most recent inventories.

               Name of the person who supervised the taking of the                  Date of inventory        The dollar amount and basis (cost, market,
               inventory                                                                                     or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

      Name                                    Address                                             Position and nature of any                % of interest, if
                                                                                                  interest                                  any
      Charles Tirri                           5660 County Rd 561                                  CEO                                       27.5%
                                              Clermont, FL 34711

      Name                                    Address                                             Position and nature of any                % of interest, if
                                                                                                  interest                                  any
      Cole Scarborough                        1617 Horseshoe Creek Rd                             COO                                       27.5%
                                              Davenport, FL 33837

      Name                                    Address                                             Position and nature of any                % of interest, if
                                                                                                  interest                                  any
      David Bartek                            11460 Park Avenue                                   CFO                                       27.5%
                                              Windermere, FL 34786

      Name                                    Address                                             Position and nature of any                % of interest, if
                                                                                                  interest                                  any
      Devin Elkin                             1064 West Highway 50                                                                          3%
                                              Suite 215
                                              Clermont, FL 34711


29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?




Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                     page 7




                                                                                                   Doc ID: 0c73b8d45533da5fd6ab6c894e8874efc7c3c08b
                           Case 6:23-bk-03376-LVV                    Doc 1         Filed 08/18/23             Page 36 of 43
Debtor      Fluid Construction Inc.                                                            Case number (if known)




     �     No
     �     Yes. Identify below.


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

     �     No
     �     Yes. Identify below.

             Name and address of recipient            Amount of money or description and value of               Dates               Reason for
                                                      property                                                                      providing the value
      30.1 David Bartek                                                                                         July 2022 -
      .                                               $42,300.00                                                July 2023           Services provided

             Relationship to debtor
             CFO


      30.2 Cole Scarborough
      .    1617 Horseshoe Creek Rd                                                                              July 2022 -
             Davenport, FL 33837                      $90,230.80                                                July 2023           Services provided

             Relationship to debtor
             COO


      30.3 Charles Tirri
      .    5660 County Rd 561                                                                                   July 2022 -
             Clermont, FL 34711                       $7,500.00                                                 July 2023           Services provided

             Relationship to debtor
             DPCEO


31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

     �     No
     �     Yes. Identify below.

   Name of the parent corporation                                                                     Employer Identification number of the parent
                                                                                                      corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

     �     No
     �     Yes. Identify below.

   Name of the pension fund                                                                           Employer Identification number of the pension
                                                                                                      fund




Official Form 207                          Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                   page 8




                                                                                                  Doc ID: 0c73b8d45533da5fd6ab6c894e8874efc7c3c08b
                          Case 6:23-bk-03376-LVV                      Doc 1         Filed 08/18/23             Page 37 of 43
Debtor      Fluid Construction Inc.                                                             Case number (if known)



Part 14:    Signature and Declaration

     WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
     connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
     18 U.S.C. §§ 152, 1341, 1519, and 3571.

     I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
     and correct.

     I declare under penalty of perjury that the foregoing is true and correct.

Executed on         August 18, 2023

/s/ Charles Tirri                                               Charles Tirri
Signature of individual signing on behalf of the debtor         Printed name

Position or relationship to debtor   CEO

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
� No
� Yes




Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                               page 9




                                                                                                   Doc ID: 0c73b8d45533da5fd6ab6c894e8874efc7c3c08b
                          Case 6:23-bk-03376-LVV                        Doc 1         Filed 08/18/23              Page 38 of 43

                                                      United States Bankruptcy Court
                                                               Middle District of Florida
 In re    Fluid Construction Inc.                                                                                 Case No.
                                                                                Debtor(s)                         Chapter        11

                                                  LIST OF EQUITY SECURITY HOLDERS
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

Name and last known address or place of                     Security Class Number of Securities                              Kind of Interest
business of holder

-NONE-



DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

        I, the CEO of the corporation named as the debtor in this case, declare under penalty of perjury that I have read the
foregoing List of Equity Security Holders and that it is true and correct to the best of my information and belief.



Date August 18, 2023                                                     Signature /s/ Charles Tirri
                                                                                        Charles Tirri

                   Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                    18 U.S.C. §§ 152 and 3571.




Sheet 1 of 1 in List of Equity Security Holders




                                                                                                     Doc ID: 0c73b8d45533da5fd6ab6c894e8874efc7c3c08b
                        Case 6:23-bk-03376-LVV                Doc 1       Filed 08/18/23         Page 39 of 43




                                               United States Bankruptcy Court
                                                       Middle District of Florida
 In re   Fluid Construction Inc.                                                                 Case No.
                                                                     Debtor(s)                   Chapter      11




                                   VERIFICATION OF CREDITOR MATRIX


I, the CEO of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is true and correct to the

best of my knowledge.




Date:     August 18, 2023                                /s/ Charles Tirri
                                                         Charles Tirri/CEO
                                                         Signer/Title




                                                                                      Doc ID: 0c73b8d45533da5fd6ab6c894e8874efc7c3c08b
                    Case 6:23-bk-03376-LVV   Doc 1    Filed 08/18/23   Page 40 of 43



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Fluid Construction Inc.             Blake Stewart                         Department of Revenue
1064 West Highway 50                Stewart Law CS LLC                    PO Box 8500
Suite 215                           1033 Florida Avenue                   Tallahassee, FL 32314
Clermont, FL 34711                  Rockledge, FL 32955



Jeffrey S. Ainsworth                Charles Tirri                         Dobbs Equipment
BransonLaw, PLLC                    5660 County Rd 561                    4333 North John Young Pkwy
1501 E. Concord Street              Clermont, FL 34711                    Orlando, FL 32804
Orlando, FL 32803



Ally Financial                      Chrysler Capital                      EquipmentShare
PO Box 78234                        PO Box 660335                         PO Box 650429
Phoenix, AZ 85062                   Dallas, TX 75266-0335                 Dallas, TX 75265




Amex                                Clearfund                             Essential Equipment Hauling
Correspondence/Bankruptcy           999 Wall Street                       1160 Wyoming Drive
POBox 981540                        Suite # 2613                          Palm Bay, FL 32909
El Paso, TX 79998                   New York, NY 10005



Amex                                Cole Scarborough                      Everest Business Funding
PO Box 297871                       1617 Horseshoe Creek Rd               102 W 38th Street
Fort Lauderdale, FL 33329           Davenport, FL 33837                   6th Floor
                                                                          New York, NY 10018



Anthony Tirri                       CRF Solutions                         FirstSource
5660 County Road 561                2051 Royal Avenue                     205 Bryant Woods South
Clermont, FL 34714                  Simi Valley, CA 93065                 Amhersst, NY 14228




Areto Holdings LLC                  David Bartek                          Ford Credit
c/o Devin Elkin                     11460 Park Avenue                     PO Box 689001
619 N Mandan Street                 Windermere, FL 34786                  Franklin, TN 37068
Bismarck, ND 58501



Avion Funding LLC                   David Fogel Esq                       G & G Funding Group LLC
101 Chase Ave, Ste 208              1225 Franklin Ave #201                70 Madison Avenue
Lakewood, NJ 08701                  Garden City, NY 11530                 New York, NY 10016




Barr Credit Services                Deberadinis Trucking Co dba           G and G Funding Group LLC
3444 N Country Club Road            Deberadinis Heavy Haul                57 W 57th Street
Suite 200                                                                 Floor 4
Tucson, AZ 85716                                                          New York, NY 10019



                                                              Doc ID: 0c73b8d45533da5fd6ab6c894e8874efc7c3c08b
                      Case 6:23-bk-03376-LVV   Doc 1     Filed 08/18/23     Page 41 of 43




Generator Fueling FL, Inc.            Nationwide Credit Inc.                    Sunbelt Rentals
Attn.: Starla Nance                   2101 W Peoria Avenue                      PO Box 409211
PO Box 1862                           Suite 150                                 Atlanta, GA 30384-9211
Seffner, FL 33584                     Phoenix, AZ 85029-4934



GM Financial                          Orange Advance LLC                        Sunbelt Rentals, Inc.
P.O. Box 181145                       140 32nd Street                           c/o Shumaker
Arlington, TX 76096                   # 316                                     1000 Jackson Street
                                      Brooklyn, NY 11232                        Toledo, OH 43604-5573



Jackie Estevez                        Orange Advance, LLC                       Suncoast Funding Group LLC
Barr Credit Services Inc.             28 Liberty Street                         141 NE 3rd Avenue
3444 N. Country Club Rd #200          New York, NY 10005                        Suite #1100
Tucson, AZ 85716                                                                Miami, FL 33132



John Deere Construction               PowerPlan                                 United Rentals
& Forestry Company                    21310 Network Place                       10330 David Taylor Dr
6400 NW 86th Street                   Chicago, IL 60673-1213                    Charlotte, NC 28262
Johnston, IA 50131



John Deere Financial                  Progressive Real                          Weltman, Weinberg, Reis Co.
PO Box 650215                         Estate Holdings, LLC                      PO Box 93596
Dallas, TX 75265                      1064 W Hwy 50                             Cleveland, OH 44101
                                      Suite 101
                                      Clermont, FL 34711

Landmark Funding Group LLC            Ring Power Corporation                    White Cap LP
2237 New York Avenue                  415 Community College Pky SE              dba White Cap Construction
Brooklyn, NY 11234                    Palm Bay, FL 32909                        6250 Brook Hollow Parkway
                                                                                Norcross, GA 30071



Lengemann Corporation                 Robert B. Worman                          Yehuda Klien, Esquire
c/o Leviton Law Firm                  2600 Lake Lucien Drive #405               The Klein Law Firm LLC
1 Pierce Place                        Maitland, FL 32751                        PO Box 714
Suite 725 West                                                                  Lakewood, NJ 08701
Itasca, IL 60143

LippesMathias                         Spinning Crane Works, LLC
10151 Deerwood Park                   1306 Potenza Drive
Bldg 300, Ste 300                     Melbourne, FL 32904
Jacksonville, FL 32256



Mid-Florida                           Stefanie Beskovoyne
PO Box 8008                           Besko Law
Lakeland, FL 33802                    1001 SE Princeville St
                                      Port Saint Lucie, FL 34983



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                     Case 6:23-bk-03376-LVV           Doc 1      Filed 08/18/23      Page 42 of 43




                                         United States Bankruptcy Court
                                                Middle District of Florida
 In re   Fluid Construction Inc.                                                     Case No.
                                                            Debtor(s)                Chapter    11




                              CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for Fluid Construction Inc. in the above captioned action, certifies that the following is
a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or more of any
class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:



� None [Check if applicable]




August 18, 2023                                /s/ Jeffrey S. Ainsworth
Date                                           Jeffrey S. Ainsworth 060769
                                               Signature of Attorney or Litigant
                                               Counsel for Fluid Construction Inc.
                                               BransonLaw, PLLC
                                               1501 E. Concord Street
                                               Orlando, FL 32803
                                               407 894 6834 Fax:407 894 8559
                                               jeff@bransonlaw.com




                                                                             Doc ID: 0c73b8d45533da5fd6ab6c894e8874efc7c3c08b
              Case 6:23-bk-03376-LVV            Doc 1   Filed 08/18/23      Page 43 of 43




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